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                                                                            United States District Court
                                                                              Southern District of Texas

                                                                                 ENTERED
                                                                               January 22, 2021
                         UNITED STATES DISTRICT COURT
                                                                              Nathan Ochsner, Clerk
                          SOUTHERN DISTRICT OF TEXAS
                            CORPUS CHRISTI DIVISION

UNITED STATES OF AMERICA                    §
                                            §
VS.                                         §   CR ACTION NO. 2:20-CR-1366
                                            §
JOSH BAZAN                                  §

 MEMORANDUM OPINION AND ORDER OF DETENTION PENDING TRIAL


         A detention hearing has been held in accordance with the Bail Reform Act, 18

U.S.C. § 3142(f). The following requires detention of the defendant pending trial in this

case:


         (1)   There is probable cause to believe the defendant committed an offense for

which a maximum term of imprisonment of ten years or more is prescribed in 21 U.S.C.

§ 841(b)(1)(B); and


         (2)   The defendant has not rebutted the presumption that no condition or

combination of conditions will reasonably assure the appearance of the defendant as

required and the safety of the community.


         The evidence against the defendant meets the probable cause standard.          The

defendant has a lengthy history of non-compliance with court ordered supervision and a

serious substance abuse problem. Additionally, the defendant is currently on bond for a

state felony offense and has recently failed to report as required. The state authorities

will be pursuing a warrant. The defendant has shown he is either unable or unwilling to

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comply with court ordered supervision.        He is a poor candidate for bond and is

ORDERED detained pending trial.         The findings and conclusions contained in the

Pretrial Services Report are adopted.


       The defendant is committed to the custody of the United States Marshal or his

designated representative for confinement in a corrections facility separate, to the extent

practicable, from persons awaiting or serving sentences or being held in custody pending

appeal. The defendant shall be afforded a reasonable opportunity for private consultation

with defense counsel. On order of a court of the United States or on request of an

attorney for the Government, the person in charge of the corrections facility shall deliver

the defendant to the United States Marshal for the purpose of an appearance in

connection with a court proceeding.


       ORDERED this 22nd day of January 2021.


                                             ___________________________________
                                                          Jason B. Libby
                                                   United States Magistrate Judge




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